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                                                                      ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                          DOC#:
SOUTHERN DISTRICT OF NEW YORK                                         DATE FILED: 09/07/2022

 FRHUEB, INC.,

                                 Plaintiff,
                                                                  21-CV-7395 (RA)(KHP)
                         v.
                                                                           ORDER
 THIAGO SABINO DE FREITAS
 ABDALA, PRISCILA PATTO,

                                 Defendant.

RONNIE ABRAMS, United States District Judge:

         By Order dated July 6, 2022, the Court directed the parties to submit a joint letter by

September 6, 2022 in advance of the October 5, 2022 preliminary injunction hearing. The Court

is not in receipt of said letter. The parties shall file a joint letter by no later than September 9, 2022

advising as to whether they intend to proceed with the preliminary injunction hearing, or if they

intend to extend the interim injunction set to expire on October 5, 2022 until after Judge Parker

issues a decision on Defendants’ motion to stay.

         If the parties intend to proceed with the preliminary injunction hearing on October 5, 2022,

they shall file the joint letter described in the Court’s July 6, 2022 Order and copies of each of the

parties’ exhibits by no later than September 14, 2022.

SO ORDERED.
Dated:      September 7, 2022
            New York, New York

                                                     Ronnie Abrams
                                                     United States District Judge
